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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,

                                 Plaintiff,
                                                     Crim. No. 11-141 (RHK/JJK)
                                                     ORDER
v.

Frank Elroy Vennes, Jr. (1),
James Nathan Fry (4),

                                Defendants.


       This matter came before the Court on October 26, 2011, for a status

conference. Prior to the conference, the parties submitted (but did not file) a joint

request to continue the trial date and enter a new scheduling Order, indicating that

Defendants agreed to exclude the additional-delay period from Speedy Trial Act

computations.

       The parties agree that discovery in this case is extensive. According to the

Government, it has made available for inspection dozens of recordings and

millions of pages of records. The parties acknowledge that Defendants require

additional time to review the discovery to prepare any pretrial motions, as well as

prepare for trial.

       The parties also agree that this case is complex. They have stipulated that

the time limits set by the Speedy Trial Act for preparation for pretrial proceedings

and trial are inadequate and unreasonable, as contemplated in 18 U.S.C. '
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3161(h)(7)(B)(ii). Accordingly, the parties have stipulated that a continuance of the

trial date to May 14, 2012, to permit them time to adequately prepare serves the

ends of justice and outweighs the interests of the public and Defendants in a

speedy trial, in accordance with 18 U.S.C. ' 3161(h)(7)(A). The Court agrees that

the ends of justice served by granting a continuance outweigh the best interest of

the public and the parties in a speedy trial.

      Based on the foregoing, and all the files, records, and proceedings herein,

including the arguments of counsel at the October 26 status conference, IT IS

ORDERED that the Scheduling Order (Doc. No. 36) is AMENDED as follows:

      1.     JURY SELECTION will commence in this action on Monday, May 14,

2012, at 9:00 a.m., in Courtroom 7A, Warren E. Burger Federal Building and

United States Courthouse, 316 North Robert Street, St. Paul, Minnesota. A

JURY TRIAL will commence immediately thereafter, and continue from day to day

until concluded;

      2.     A STATUS CONFERENCE before the undersigned will be held on

Wednesday, May 9, 2012, at 8:30 a.m., at the same location. Among other

things, the Court intends to address the parties= Motions in Limine (see below) at

the status conference;

      3.     Expert disclosures and reports shall be exchanged on or before

March 13, 2012;

      4.     Rebuttal expert disclosures and reports shall be exchanged on or

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before April 13, 2012;

      5.    Exhibit and witness lists shall be exchanged and filed on or before

March 13, 2012;

      6.    Witness statements (including memoranda of interviews, Jencks

statements, and Giglio materials) shall be exchanged on or before April 13, 2012;

      7.    Proposed voir dire questions and proposed jury instructions shall be

served and filed on or before April 13, 2012;

      8.    Motions in Limine shall be served and filed on or before April 20,

            2012;

      9.    Responses to Motions in Limine shall be served and filed on or before

May 4, 2012; and

      10.   The period from October 26, 2011, through May 14, 2012, shall be

excluded from the Speedy Trial Act computations in this case.


Dated: October 28, 2011

                                                  s/Richard H. Kyle
                                                  RICHARD H. KYLE
                                                  United States District Judge




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